
835 A.2d 1288 (2003)
Wendy GLOFFKE, Appellant,
v.
Melvin ROBINSON and Lehigh and Northampton Transportation Authority, a/k/a Lanta, n/k/a Lanta Metro, Appellees.
Supreme Court of Pennsylvania.
Argued October 21, 2003.
Decided November 20, 2003.
Richard J. Orloski, Allentown, for Wendy Gloffke.
Richard L. Orwig, Reading, Jill Elaine Nagy, for Lanta, et al.
Joan Alison Zubras, for Southeastern Pennsylvania Transp. Authority, amicus curiae.
Catherine Denise Williams, for School Dist. of Philadelphia, amicus curiae.
Stanley J.A. Laskowski, Harrisburg, for Pennsylvania State Assoc. of Boroughs, amicus curiae.
Colin Meneely, Pittsburgh, for Port Authority of Allegheny County, amicus curiae.
Mark A. Mateya, Harrisburg, for County Commissioners Assoc. of Pennsylvania, amicus curiae.
Kent H. Herman, Allentown, for Pennsylvania Public Transp. Assoc., amicus curiae.
Paul N. Lalley, Huntingdon Valley, for Pennsylvania School Boards Assoc. Ins. Trust, amicus curiae.
Eric F. Spade, for Statewide Assoc. for Transit Ins., amicus curiae.
*1289 Thomas L. Wenger, Harrisburg, for Pennsylvania State Assoc. of Twp. Supervisors and Pennsylvania Local Government Conference, amicus curiae.
Before CAPPY, C.J., and CASTILLE, NIGRO, NEWMAN, SAYLOR, EAKIN and LAMB, JJ.

ORDER
PER CURIAM.
The Order of the Commonwealth Court is affirmed.
